Filed 12/31/24                                                         Case 24-25864                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                Youssef Corporation

  2.   All other names debtor
       used in the last 8 years
       Include any assumed          DBA Rick's Dessert Diner
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    2401 J Street
                                    Sacramento, CA 95816
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                      Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)       www.ricksdessertdiner.com


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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  Debtor    Youssef Corporation                                                                         Case number (if known)
            Name



  7.   Describe debtor's business       A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  7225

  8.   Under which chapter of the       Check one:
       Bankruptcy Code is the
                                           Chapter 7
       debtor filing?
                                           Chapter 9

                                           Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

  9.   Were prior bankruptcy               No.
       cases filed by or against
       the debtor within the last 8        Yes.
       years?
       If more than 2 cases, attach a
       separate list.                             District                                 When                                  Case number
                                                  District                                 When                                  Case number




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Filed 12/31/24                                                                   Case 24-25864                                                                              Doc 1
  Debtor    Youssef Corporation                                                                             Case number (if known)
            Name

  10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                   Yes.
      affiliate of the debtor?




       List all cases. If more than 1,
       attach a separate list                          Debtor                                                                    Relationship
                                                       District                                 When                             Case number, if known


  11. Why is the case filed in           Check all that apply:
      this district?
                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                  A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or                 No
      have possession of any
      real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                             Yes.
      property that needs
      immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?
                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                        livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                         Other
                                                      Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                      Is the property insured?
                                                         No
                                                         Yes.     Insurance agency
                                                                  Contact name
                                                                  Phone



            Statistical and administrative information

  13. Debtor's estimation of             .         Check one:
      available funds
                                                      Funds will be available for distribution to unsecured creditors.
                                                      After any administrative expenses are paid, no funds will be available to unsecured creditors.

  14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                               5001-10,000                                 50,001-100,000
                                             50-99
                                             100-199                                          10,001-25,000                               More than100,000
                                             200-999

  15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                             $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                             $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                             $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

  Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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  Debtor   Youssef Corporation                                                          Case number (if known)
           Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




  Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Filed 12/31/24                                                         Case 24-25864                                                                                            Doc 1


  Fill in this information to identify the case:
  Debtor name Youssef Corporation
  United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                 CALIFORNIA
  Case number (if known):                                                                                                                     amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
  Are Not Insiders                                                                           12/15

  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
  debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
  among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Ahmad Darwish Abu                                   Purchase                                                                                                  $294,316.00
  Eita and Safaa                                      Agreement
  Hassan
  10345 Odemira Way
  Elk Grove, CA
  95757-4000
  Bake Mark USA                                       Suppliers or                                                                                                $30,000.00
  11350 Sunrise Park                                  Vendors
  Dr
  Rancho Cordova,
  CA 95742
  BPM LLP                                             Professional                                                                                                $12,117.00
  PO Box 8580                                         Services
  Pasadena, CA 91109
  Central Milling                                     Suppliers or                                                                                                    $150.00
  Organic                                             Vendors
  1120 Holm Rd
  Petaluma, CA 94954
  Challenge Dairy                                     Suppliers or                                                                                                $29,687.00
  6701 Donlon Way                                     Vendors
  Dublin, CA 94568
  Chase Bank                                          Business Credit                                                                                             $35,630.00
  PO Box 6294                                         Card
  Carol Stream, IL
  60197
  Chef’s Warehouse                                    Suppliers or                                                                                                  $2,723.00
  1250 Whipple Road                                   Vendors
  Union City, CA
  94587
  JPMorgan Chase/                                     Accounts,                                             $142,987.00                        $0.00            $142,987.00
  Chase Bank                                          Inventory, and
  PO Box 6026                                         Equipment
  IL1-1145
  Chicago, IL
  60680-6026




  Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
Filed 12/31/24                                                         Case 24-25864                                                                                            Doc 1



  Debtor     Youssef Corporation                                                                      Case number (if known)
             Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  PCH Property                                        Business                                                                                                    $51,704.00
  Management Inc                                      Lease/Rent
  8436 Auburn Blvd
  Citrus Heights, CA
  95610
  Peerless Coffee &                                   Suppliers or                                                                                                  $1,947.00
  Tea                                                 Vendors
  260 Oak St
  Oakland, CA 94607
  Preferred Employers                                 Workers                                                                                                     $20,671.00
  Insurance                                           Compensation
  PO Box 85478                                        Insurance
  San Diego, CA                                       Premium
  92186
  Produce Express                                     Suppliers or                                                                                                  $6,615.00
  8340 Belvedere Ave                                  Vendors
  Sacramento, CA
  95826
  Rammco Linen                                        Suppliers or                                                                                                  $1,249.00
  Service                                             Vendors
  75 Church St
  Sutter Creek, CA
  95685
  Rewards Network                                     Merchant Cash                                          $10,500.00                        $0.00              $10,500.00
  540 W Madison St                                    Advance
  #2400                                               Agreement
  Chicago, IL 60661
  Sequoia Premium                                     Suppliers or                                                                                                  $5,909.00
  Foods                                               Vendors
  Auth Purveyor of
  Boar's Head
  Products
  2457 Industrial Blvd
  Hayward, CA 94545
  SRC Companies                                       Suppliers or                                                                                                    $150.00
  11350 Kiefer Blvd                                   Vendors
  Sacramento, CA
  95830
  Sysco Sacramento,                                   Suppliers or                                                                                                $12,159.00
  Inc.                                                Vendors
  7062 Pacific Avenue
  Pleasant Grove, CA
  95668
  Umpqua Bank                                         Business                                           $1,280,139.00                  $68,924.99            $1,211,214.01
  7777 Alvarado Road,                                 Equipment,
  Ste 501                                             Furniture,
  La Mesa, CA 91942                                   Fixtures, Cash
                                                      and Accounts




  Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
Filed 12/31/24                                                         Case 24-25864                                                                                            Doc 1



  Debtor     Youssef Corporation                                                                      Case number (if known)
             Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  WCP Solutions                                       Suppliers or                                                                                                  $3,992.00
  600 Sequoia Pacific                                 Vendors
  Blvd
  Sacramento, CA
  95811
  WSFS Bank                                           Sweeper                                                $11,679.00                        $0.00              $11,679.00
  1818 Market Street
  Philadelphia, PA
  19103




  Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
Filed 12/31/24                                                                                      Case 24-25864                                                                                                   Doc 1

     Fill in this information to identify the case:

     Debtor name           Youssef Corporation

     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                                                          Check if this is an
                                                                                                                                                                                          amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15

     Part 1:     Summary of Assets


     1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          1a. Real property:
              Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

          1b. Total personal property:
              Copy line 91A from Schedule A/B.........................................................................................................................                     $            68,924.99

          1c. Total of all property:
              Copy line 92 from Schedule A/B...........................................................................................................................                    $            68,924.99


     Part 2:     Summary of Liabilities


     2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,445,305.00


     3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          3a. Total claim amounts of priority unsecured claims:
              Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

          3b. Total amount of claims of nonpriority amount of unsecured claims:
              Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           513,674.00


     4.   Total liabilities .......................................................................................................................................................
          Lines 2 + 3a + 3b                                                                                                                                                           $           1,958,979.00




     Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Filed 12/31/24                                                         Case 24-25864                                                                                 Doc 1

     Fill in this information to identify the case:

     Debtor name         Youssef Corporation

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

            No. Go to Part 2.
             Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                           debtor's interest

     3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
               Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                                number


               3.1.     Chase                                             Business Checking                     5938                                    $35,265.99



     4.        Other cash equivalents (Identify all)

     5.        Total of Part 1.                                                                                                                     $35,265.99
               Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:          Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

            No. Go to Part 3.
            Yes Fill in the information below.

     7.        Deposits, including security deposits and utility deposits
               Description, including name of holder of deposit


               7.1.     Lease Security Deposit held by PCH Property Management, Inc.                                                                     $7,304.00



     8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
               Description, including name of holder of prepayment


     9.        Total of Part 2.                                                                                                                      $7,304.00
               Add lines 7 through 8. Copy the total to line 81.

    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                        page 1
Filed 12/31/24                                                        Case 24-25864                                                            Doc 1

     Debtor       Youssef Corporation                                                     Case number (If known)
                  Name



     Part 3:      Accounts receivable
    10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.


     Part 4:      Investments
    13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes Fill in the information below.


     Part 5:      Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes Fill in the information below.

               General description               Date of the last        Net book value of         Valuation method used   Current value of
                                                 physical inventory      debtor's interest         for current value       debtor's interest
                                                                         (Where available)

     19.       Raw materials

     20.       Work in progress

     21.       Finished goods, including goods held for resale

     22.       Other inventory or supplies
               Inventory- Baking
               ingredients and supplies          Approx 05/2024                    $2,500.00       Liquidation                        $2,500.00




     23.       Total of Part 5.                                                                                                    $2,500.00
               Add lines 19 through 22. Copy the total to line 84.

     24.       Is any of the property listed in Part 5 perishable?
                  No
                  Yes

     25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
                 No
                 Yes. Book value                 2,000.00 Valuation method        Liquidation        Current Value             2,000.00

     26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
                  No
                  Yes

     Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes Fill in the information below.


     Part 7:      Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
Filed 12/31/24                                                          Case 24-25864                                                                  Doc 1

     Debtor       Youssef Corporation                                                            Case number (If known)
                  Name


           Yes Fill in the information below.

               General description                                            Net book value of          Valuation method used   Current value of
                                                                              debtor's interest          for current value       debtor's interest
                                                                              (Where available)

     39.       Office furniture

     40.       Office fixtures

     41.       Office equipment, including all computer equipment and
               communication systems equipment and software
               Office desk/Chair, Computer/Printer, and
               Restaruant/Kitchen equipment                                             $11,500.00       Liquidation                       $11,500.00



     42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
               books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
               collections; other collections, memorabilia, or collectibles

     43.       Total of Part 7.                                                                                                           $11,500.00
               Add lines 39 through 42. Copy the total to line 86.

     44.       Is a depreciation schedule available for any of the property listed in Part 7?
                   No
                  Yes

     45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                  No
                  Yes

     Part 8:      Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

           No. Go to Part 9.
           Yes Fill in the information below.

               General description                                            Net book value of          Valuation method used   Current value of
               Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
               (i.e., VIN, HIN, or N-number)                                  (Where available)

     47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

               47.1.    2012 Cadillac Escalade ESV, Approx
                        117,000 miles, Fair Condition                                   $10,855.00       KBB PPV                           $10,855.00



     48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
               floating homes, personal watercraft, and fishing vessels

     49.       Aircraft and accessories


     50.       Other machinery, fixtures, and equipment (excluding farm
               machinery and equipment)

     51.       Total of Part 8.                                                                                                        $10,855.00
               Add lines 47 through 50. Copy the total to line 87.

     52.       Is a depreciation schedule available for any of the property listed in Part 8?
                   No
                  Yes
    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
Filed 12/31/24                                                         Case 24-25864                                                                       Doc 1

     Debtor        Youssef Corporation                                                         Case number (If known)
                   Name



     53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
                   No
                   Yes

     Part 9:       Real property
    54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes Fill in the information below.

     55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

                Description and location of           Nature and             Net book value of             Valuation method used   Current value of
                property                              extent of              debtor's interest             for current value       debtor's interest
                Include street address or other       debtor's interest      (Where available)
                description such as Assessor          in property
                Parcel Number (APN), and type
                of property (for example,
                acreage, factory, warehouse,
                apartment or office building, if
                available.
                55.1. 2401 J St,
                         Sacramento, CA
                         95816, Restaurant
                         and Commerical
                         Kitchen, Approx
                         4,250 Sqft.                  Lessee                                 $0.00                                                     $0.00




     56.        Total of Part 9.                                                                                                                  $0.00
                Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
                Copy the total to line 88.

     57.        Is a depreciation schedule available for any of the property listed in Part 9?
                   No
                   Yes

     58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
                   No
                   Yes

     Part 10:      Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes Fill in the information below.

                General description                                          Net book value of             Valuation method used    Current value of
                                                                             debtor's interest             for current value        debtor's interest
                                                                             (Where available)

     60.        Patents, copyrights, trademarks, and trade secrets
                Rick's Dessert Diner                                                    $1,500.00          Management                           $1,500.00



     61.        Internet domain names and websites

     62.        Licenses, franchises, and royalties

     63.        Customer lists, mailing lists, or other compilations


    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                              page 4
Filed 12/31/24                                                        Case 24-25864                                                                  Doc 1

     Debtor        Youssef Corporation                                                         Case number (If known)
                   Name

     64.        Other intangibles, or intellectual property

     65.        Goodwill

     66.        Total of Part 10.                                                                                                        $1,500.00
                Add lines 60 through 65. Copy the total to line 89.

     67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
                   No
                   Yes

     68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                   No
                   Yes

     69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
                   No
                   Yes

     Part 11:      All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes Fill in the information below.




    Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 5
Filed 12/31/24                                                                           Case 24-25864                                                                             Doc 1

     Debtor          Youssef Corporation                                                                                 Case number (If known)
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                            $35,265.99

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,304.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                                 $2,500.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                          $11,500.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $10,855.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    $1,500.00

     90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

     91. Total. Add lines 80 through 90 for each column                                                              $68,924.99          + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $68,924.99




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                       page 6
Filed 12/31/24                                                                  Case 24-25864                                                                           Doc 1

     Fill in this information to identify the case:

     Debtor name         Youssef Corporation

     United States Bankruptcy Court for the:           EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?
            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.
     Part 1:     List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
     2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
     claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
           JPMorgan Chase/ Chase
     2.1                                                                                                                     $142,987.00                       $0.00
           Bank                                         Describe debtor's property that is subject to a lien
           Creditor's Name                              Accounts, Inventory, and Equipment
           PO Box 6026
           IL1-1145
           Chicago, IL 60680-6026
           Creditor's mailing address                   Describe the lien
                                                        Business LOC
                                                        Is the creditor an insider or related party?
                                                           No
           Creditor's email address, if known               Yes
                                                        Is anyone else liable on this claim?
           Date debt was incurred                          No
           Opened 09/2022                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           8002
           Do multiple creditors have an                As of the petition filing date, the claim is:
           interest in the same property?               Check all that apply
               No                                          Contingent
               Yes. Specify each creditor,                 Unliquidated
           including this creditor and its relative        Disputed
           priority.



     2.2   Rewards Network                              Describe debtor's property that is subject to a lien                   $10,500.00                      $0.00
           Creditor's Name                              Merchant Cash Advance Agreement
           540 W Madison St #2400
           Chicago, IL 60661
           Creditor's mailing address                   Describe the lien
                                                        Merchant Cash Advance Agreement
                                                        Is the creditor an insider or related party?
                                                           No
           Creditor's email address, if known               Yes
                                                        Is anyone else liable on this claim?
           Date debt was incurred                          No
           Opened 10/2024                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
           Last 4 digits of account number
           7874
           Do multiple creditors have an                As of the petition filing date, the claim is:
           interest in the same property?               Check all that apply


    Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
Filed 12/31/24                                                                  Case 24-25864                                                                           Doc 1

     Debtor       Youssef Corporation                                                                   Case number (if known)
                  Name

                No                                         Contingent
                Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative       Disputed
            priority.



     2.3    Umpqua Bank                                 Describe debtor's property that is subject to a lien                 $1,280,139.00                $68,924.99
            Creditor's Name                             Business Equipment, Furniture, Fixtures,
            7777 Alvarado Road, Ste                     Cash and Accounts
            501
            La Mesa, CA 91942
            Creditor's mailing address                  Describe the lien
                                                        Small Business Administratio Loan
                                                        Is the creditor an insider or related party?
                                                           No
            Creditor's email address, if known              Yes
                                                        Is anyone else liable on this claim?
            Date debt was incurred                         No
            Opened 09/2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number
            9100
            Do multiple creditors have an               As of the petition filing date, the claim is:
            interest in the same property?              Check all that apply
                No                                         Contingent
                Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative       Disputed
            priority.



     2.4    WSFS Bank                                   Describe debtor's property that is subject to a lien                      $11,679.00                   $0.00
            Creditor's Name                             Sweeper
            1818 Market Street
            Philadelphia, PA 19103
            Creditor's mailing address                  Describe the lien
                                                        Business Equipment Lease/Purchase
                                                        Agreement
                                                        Is the creditor an insider or related party?
                                                           No
            Creditor's email address, if known              Yes
                                                        Is anyone else liable on this claim?
            Date debt was incurred                         No
            Opened 03/2024                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
            Last 4 digits of account number
            2465
            Do multiple creditors have an               As of the petition filing date, the claim is:
            interest in the same property?              Check all that apply
                No                                         Contingent
                Yes. Specify each creditor,                Unliquidated
            including this creditor and its relative       Disputed
            priority.



                                                                                                                                 $1,445,305.0
     3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

     Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
     List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
     assignees of claims listed above, and attorneys for secured creditors.

     If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



    Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
Filed 12/31/24                                             Case 24-25864                                                                       Doc 1

     Debtor   Youssef Corporation                                               Case number (if known)
              Name

          Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                        you enter the related creditor?   account number for
                                                                                                                          this entity
          Chase Bank
          PO Box 78039                                                                  Line   2.1                                8002
          Phoenix, AZ 85062-8039

          U.S. Small Business Administration
          Attn: District Counsel                                                        Line   2.3                                9100
          455 Market Street, Suite 600
          San Francisco, CA 94105

          U.S. Small Business Administration (SBA)
          Sacramento District Office                                                    Line   2.3                                9100
          6501 Sylvan Road, Suite 100
          Citrus Heights, CA 95610-5017

          Umpqua Bank
          445 SE Main St                                                                Line   2.3                                9100
          Roseburg, OR 97470




    Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
Filed 12/31/24                                                                Case 24-25864                                                                                        Doc 1

     Fill in this information to identify the case:

     Debtor name        Youssef Corporation

     United States Bankruptcy Court for the:         EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

                 No. Go to Part 2.

                 Yes. Go to line 2.


     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                          Amount of claim

     3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $294,316.00
               Ahmad Darwish Abu Eita and Safaa Hassan                              Contingent
               10345 Odemira Way                                                    Unliquidated
               Elk Grove, CA 95757-4000                                             Disputed
               Date(s) debt was incurred Opened 09/2022
                                                                                 Basis for the claim: Purchase Agreement
               Last 4 digits of account number 7768
                                                                                 Is the claim subject to offset?       No     Yes

     3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $30,000.00
               Bake Mark USA                                                        Contingent
               11350 Sunrise Park Dr                                                Unliquidated
               Rancho Cordova, CA 95742                                             Disputed
               Date(s) debt was incurred Opened 09/2022
                                                                                 Basis for the claim: Suppliers or Vendors
               Last 4 digits of account number 2250
                                                                                 Is the claim subject to offset?       No     Yes

     3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $12,117.00
               BPM LLP                                                              Contingent
               PO Box 8580                                                          Unliquidated
               Pasadena, CA 91109                                                   Disputed
               Date(s) debt was incurred Opened 09/2022
                                                                                 Basis for the claim: Professional Services
               Last 4 digits of account number 8420
                                                                                 Is the claim subject to offset?       No     Yes

     3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $150.00
               Central Milling Organic                                              Contingent
               1120 Holm Rd                                                         Unliquidated
               Petaluma, CA 94954                                                   Disputed
               Date(s) debt was incurred Opened 06/2023
                                                                                 Basis for the claim: Suppliers or Vendors
               Last 4 digits of account
               number RICK'S DESSERT DINER                                       Is the claim subject to offset?       No     Yes




    Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
                                                                                                               51819
Filed 12/31/24                                                        Case 24-25864                                                                      Doc 1

     Debtor      Youssef Corporation                                                             Case number (if known)
                 Name

     3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,687.00
              Challenge Dairy                                              Contingent
              6701 Donlon Way                                              Unliquidated
              Dublin, CA 94568                                             Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 7839
                                                                        Is the claim subject to offset?     No       Yes

     3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $35,630.00
              Chase Bank                                                   Contingent
              PO Box 6294                                                  Unliquidated
              Carol Stream, IL 60197                                       Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Business Credit Card
              Last 4 digits of account number 8837
                                                                        Is the claim subject to offset?     No       Yes

     3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,723.00
              Chef’s Warehouse                                             Contingent
              1250 Whipple Road                                            Unliquidated
              Union City, CA 94587                                         Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 1929
                                                                        Is the claim subject to offset?     No       Yes

     3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $51,704.00
              PCH Property Management Inc                                  Contingent
              8436 Auburn Blvd                                             Unliquidated
              Citrus Heights, CA 95610                                     Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Business Lease/Rent
              Last 4 digits of account number 7768
                                                                        Is the claim subject to offset?     No       Yes

     3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,947.00
              Peerless Coffee & Tea                                        Contingent
              260 Oak St                                                   Unliquidated
              Oakland, CA 94607                                            Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 8131
                                                                        Is the claim subject to offset?     No       Yes

     3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,671.00
              Preferred Employers Insurance                                Contingent
              PO Box 85478                                                 Unliquidated
              San Diego, CA 92186                                          Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Workers Compensation Insurance Premium
              Last 4 digits of account number 2531
                                                                        Is the claim subject to offset?     No       Yes

     3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,615.00
              Produce Express                                              Contingent
              8340 Belvedere Ave                                           Unliquidated
              Sacramento, CA 95826                                         Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number RICK'S
                                                                        Is the claim subject to offset?     No       Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 4
Filed 12/31/24                                                        Case 24-25864                                                                      Doc 1

     Debtor      Youssef Corporation                                                             Case number (if known)
                 Name

     3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,249.00
              Rammco Linen Service                                         Contingent
              75 Church St                                                 Unliquidated
              Sutter Creek, CA 95685                                       Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 4274
                                                                        Is the claim subject to offset?     No       Yes

     3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,585.00
              Randy Sutton                                                 Contingent
              910 23rd St                                                  Unliquidated
              Sacramento, CA 95816                                         Disputed
              Date(s) debt was incurred Opened 11/2024
                                                                        Basis for the claim: Personal Credit Card Used to Pay Corporate
              Last 4 digits of account number USAA                      Expenses
                                                                        Is the claim subject to offset?     No       Yes

     3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,909.00
              Sequoia Premium Foods                                        Contingent
              Auth Purveyor of Boar's Head Products                        Unliquidated
              2457 Industrial Blvd                                         Disputed
              Hayward, CA 94545
                                                                        Basis for the claim: Suppliers or Vendors
              Date(s) debt was incurred Opened 06/2023
              Last 4 digits of account number RICK'S                    Is the claim subject to offset?     No       Yes


     3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $150.00
              SRC Companies                                                Contingent
              11350 Kiefer Blvd                                            Unliquidated
              Sacramento, CA 95830                                         Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 7768
                                                                        Is the claim subject to offset?     No       Yes

     3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,159.00
              Sysco Sacramento, Inc.                                       Contingent
              7062 Pacific Avenue                                          Unliquidated
              Pleasant Grove, CA 95668                                     Disputed
              Date(s) debt was incurred Opened 09/2022
                                                                        Basis for the claim: Suppliers or Vendors
              Last 4 digits of account number 4784
                                                                        Is the claim subject to offset?     No       Yes

     3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
              U.S. Small Business Administration                           Contingent
              Attn: District Counsel                                       Unliquidated
              455 Market Street, Suite 600                                 Disputed
              San Francisco, CA 94105
                                                                        Basis for the claim: Small Business Administratio Loan
              Date(s) debt was incurred Opened 09/2022
              Last 4 digits of account number 7768                      Is the claim subject to offset?     No       Yes


     3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
              U.S. Small Business Administration                           Contingent
              Attn: District Counsel                                       Unliquidated
              455 Market Street, Suite 600                                 Disputed
              San Francisco, CA 94105
                                                                        Basis for the claim: Small Business Administratio Loan
              Date(s) debt was incurred Opened 09/2022
              Last 4 digits of account number 7768                      Is the claim subject to offset?     No       Yes




    Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 4
Filed 12/31/24                                                               Case 24-25864                                                                                    Doc 1

     Debtor       Youssef Corporation                                                                   Case number (if known)
                  Name

     3.19      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                $3,992.00
               WCP Solutions                                                       Contingent
               600 Sequoia Pacific Blvd                                            Unliquidated
               Sacramento, CA 95811                                                Disputed
               Date(s) debt was incurred Opened 09/2022
                                                                               Basis for the claim: Suppliers or Vendors
               Last 4 digits of account number 3400
                                                                               Is the claim subject to offset?        No      Yes

     3.20      Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $70.00
               Zap Terminte & Pest Control, Inc.                                   Contingent
               7233 26th St                                                        Unliquidated
               Rio Linda, CA 95673                                                 Disputed
               Date(s) debt was incurred Opened 09/2022
                                                                               Basis for the claim: Suppliers or Vendors
               Last 4 digits of account number 3400
                                                                               Is the claim subject to offset?        No      Yes



     Part 3:      List Others to Be Notified About Unsecured Claims

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                                 On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                        related creditor (if any) listed?               account number, if
                                                                                                                                                        any
     4.1       Sequoia Premium Foods
               Auth Purveyor of Boar's Head Products                                                    Line     3.14                                   7768
               7497 Reese Road
                                                                                                               Not listed. Explain
               Sacramento, CA 95828

     4.2       Sysco Sacramento, Inc
               1390 Enclave Parkway                                                                     Line     3.16                                   4784
               Houston, TX 77077
                                                                                                               Not listed. Explain

     4.3       Sysco Sacramento, Inc
               NCS UCC Services Group                                                                   Line     3.16                                   4784
               PO Box 24101
                                                                                                               Not listed. Explain
               Cleveland, OH 44124


     Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                            Total of claim amounts
     5a. Total claims from Part 1                                                                          5a.          $                           0.00
     5b. Total claims from Part 2                                                                          5b.    +     $                     513,674.00

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                               5c.          $                        513,674.00




    Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
Filed 12/31/24                                                         Case 24-25864                                                                              Doc 1

     Fill in this information to identify the case:

     Debtor name      Youssef Corporation

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.   Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

     2.1.      State what the contract or             Business Space Lease,
               lease is for and the nature of         Lessee
               the debtor's interest

                   State the term remaining           Month to Month
                                                                                        PCH Property Management Inc
               List the contract number of any                                          8436 Auburn Blvd
                     government contract                                                Citrus Heights, CA 95610


     2.2.      State what the contract or             Merchant Cash
               lease is for and the nature of         Advance Agreement,
               the debtor's interest                  Lessee

                   State the term remaining           Exp 12/2024
                                                                                        Rewards Network
               List the contract number of any                                          540 W Madison St #2400
                     government contract                                                Chicago, IL 60661


     2.3.      State what the contract or             Business Equipment
               lease is for and the nature of         Lease/Purchase
               the debtor's interest                  Agreement for
                                                      Sweeper, Lessee
                   State the term remaining           Exp 03/2029
                                                                                        WSFS Bank
               List the contract number of any                                          1818 Market Street
                     government contract                                                Philadelphia, PA 19103




    Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
Filed 12/31/24                                                       Case 24-25864                                                                          Doc 1

     Fill in this information to identify the case:

     Debtor name      Youssef Corporation

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

         1. Do you have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

      2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
         on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
               Column 1: Codebtor                                                                        Column 2: Creditor



               Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                     that apply:
       2.1                                                                                                                              D
                                           Street                                                                                       E/F
                                                                                                                                        G

                                           City                    State        Zip Code


       2.2                                                                                                                              D
                                           Street                                                                                       E/F
                                                                                                                                        G

                                           City                    State        Zip Code


       2.3                                                                                                                              D
                                           Street                                                                                       E/F
                                                                                                                                        G

                                           City                    State        Zip Code


       2.4                                                                                                                              D
                                           Street                                                                                       E/F
                                                                                                                                        G

                                           City                    State        Zip Code




    Official Form 206H                                                     Schedule H: Your Codebtors                                             Page 1 of 1
Filed 12/31/24                                                        Case 24-25864                                                                             Doc 1




     Fill in this information to identify the case:

     Debtor name        Youssef Corporation

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:     Income

    1. Gross revenue from business

               None.

          Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
          which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                      exclusions)

          From the beginning of the fiscal year to filing date:                               Operating a business                             $2,699,350.00
          From 1/01/2024 to 12/31/2024
                                                                                              Other


          For prior year:                                                                     Operating a business                             $2,551,847.00
          From 1/01/2023 to 12/31/2023
                                                                                              Other


          For year before that:                                                               Operating a business                             $2,416,766.00
          From 1/01/2022 to 12/31/2022
                                                                                              Other

    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

               None.

                                                                                          Description of sources of revenue           Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

     Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

               None.

          Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                          Check all that apply




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          Creditor's Name and Address                            Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                     Check all that apply
          3.1.
                 Ahmad Darwish Abu Eita and Safaa                Last 90 Days                     $42,425.00           Secured debt
                 Hassan                                                                                                Unsecured loan repayments
                 10345 Odemira Way
                                                                                                                       Suppliers or vendors
                 Elk Grove, CA 95757-4000
                                                                                                                       Services
                                                                                                                       Other Purchase Agreement


          3.2.
                 Bake Mark USA                                   Last 90 Days                     $17,557.00           Secured debt
                 11350 Sunrise Park Dr                                                                                 Unsecured loan repayments
                 Rancho Cordova, CA 95742
                                                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


          3.3.
                 BPM LLP                                         Last 90 Days                     $23,567.00           Secured debt
                 PO Box 8580                                                                                           Unsecured loan repayments
                 Pasadena, CA 91109                                                                                    Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


          3.4.
                 Challenge Dairy                                 Last 90 Days                     $30,267.00           Secured debt
                 6701 Donlon Way                                                                                       Unsecured loan repayments
                 Dublin, CA 94568
                                                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


          3.5.
                 Chase Bank                                      Last 90 Days                     $54,089.00           Secured debt
                 PO Box 6294                                                                                           Unsecured loan repayments
                 Carol Stream, IL 60197                                                                                Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other Business Credit Card


          3.6.
                 Chef’s Warehouse                                Last 90 Days                     $10,509.00           Secured debt
                 1250 Whipple Road                                                                                     Unsecured loan repayments
                 Union City, CA 94587
                                                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


          3.7.
                 PCH Property Management Inc                     Last 90 Days                     $20,645.00           Secured debt
                 8436 Auburn Blvd                                                                                      Unsecured loan repayments
                 Citrus Heights, CA 95610                                                                              Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other Business Lease/Rent


          3.8.
                 Produce Express                                 Last 90 Days                     $24,763.00           Secured debt
                 8340 Belvedere Ave                                                                                    Unsecured loan repayments
                 Sacramento, CA 95826
                                                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other




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          Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                           Check all that apply
          3.9.
                 Rewards Network                                       Last 90 Days                     $10,123.00           Secured debt
                 540 W Madison St #2400                                                                                      Unsecured loan repayments
                 Chicago, IL 60661
                                                                                                                             Suppliers or vendors
                                                                                                                             Services
                                                                                                                             Other


          3.10
          .
               U.S. Small Business Administration                      Last 90 Days                       $9,381.00          Secured debt
                 Attn: District Counsel                                                                                      Unsecured loan repayments
                 455 Market Street, Suite 600
                                                                                                                             Suppliers or vendors
                 San Francisco, CA 94105
                                                                                                                             Services
                                                                                                                             Other


          3.11
          .
               Smart Construction                                      Last 90 Days                     $13,700.00           Secured debt
                                                                                                                             Unsecured loan repayments
                                                                                                                             Suppliers or vendors
                                                                                                                             Services
                                                                                                                             Other


          3.12
          .
               Sysco Sacramento, Inc.                                  Last 90 Days                     $35,442.00           Secured debt
                 7062 Pacific Avenue                                                                                         Unsecured loan repayments
                 Pleasant Grove, CA 95668
                                                                                                                             Suppliers or vendors
                                                                                                                             Services
                                                                                                                             Other


          3.13
          .
               Umpqua Bank                                             Last 90 Days                     $58,765.00           Secured debt
                 7777 Alvarado Road, Ste 501                                                                                 Unsecured loan repayments
                 La Mesa, CA 91942
                                                                                                                             Suppliers or vendors
                                                                                                                             Services
                                                                                                                             Other


          3.14
          .
               West Coast Paper Company                                Last 90 Days                     $12,622.00           Secured debt
                                                                                                                             Unsecured loan repayments
                                                                                                                             Suppliers or vendors
                                                                                                                             Services
                                                                                                                             Other



    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
       may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

              None.

          Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
          Relationship to debtor
          4.1.   Union Court, LLC                                      Last 90 Days                     $10,188.00         Residential Lease Payment
                 1221 18th St
                 Sacramento, CA 95811
                 None


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          Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
          Relationship to debtor
          4.2.    Roberta Anderson                                     Last 90 Days                       $25,740.00         Reimbursement for expenses

                  Ex-Spouse

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

               None

          Creditor's name and address                      Describe of the Property                                        Date                Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

               None

          Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                           taken

     Part 3:     Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

               None.

                  Case title                               Nature of case               Court or agency's name and                Status of case
                  Case number                                                           address

    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

               None


     Part 4:     Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

               None

                  Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


     Part 5:     Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

               None

          Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
          how the loss occurred                                                                                                                             lost
                                                           If you have received payments to cover the loss, for
                                                           example, from insurance, government compensation, or
                                                           tort liability, list the total received.

                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets – Real and Personal Property).


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          Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
          how the loss occurred                                                                                                                            lost
                                                           If you have received payments to cover the loss, for
                                                           example, from insurance, government compensation, or
                                                           tort liability, list the total received.

                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets – Real and Personal Property).
          Income loss due to vehicle                       State Farm Insruance Payment of                            09/2024                         $2,574.65
          accident (in front of store) causing             $2,574.65
          temporary store closure


     Part 6:      Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

               None.

                   Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
                   the transfer?                                                                                                                         value
                   Address
          11.1.    Reynolds Law Corporation
                   PO Box 73379
                   Davis, CA 95617                                                                                         11/26/2024                $12,500.00

                   Email or website address
                   sreynolds@lr-law.net

                   Who made the payment, if not debtor?




          11.2.    Deos Law, PC
                   428 J Street, 4th Floor
                   Sacramento, CA 95814                                                                                    11/26/2024                $14,238.00

                   Email or website address
                   deoslawyer@gmail.com

                   Who made the payment, if not debtor?




    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

               None.

          Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                                   were made                             value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

               None.

                  Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
                  Address                                  payments received or debts paid in exchange                was made                           value


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     Part 7:      Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


               Does not apply

                    Address                                                                                              Dates of occupancy
                                                                                                                         From-To

     Part 8:      Health Care Bankruptcies

    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

                No. Go to Part 9.
                Yes. Fill in the information below.


                    Facility name and address               Nature of the business operation, including type of services             If debtor provides meals
                                                            the debtor provides                                                      and housing, number of
                                                                                                                                     patients in debtor’s care

     Part 9:      Personally Identifiable Information

    16. Does the debtor collect and retain personally identifiable information of customers?

                No.
                Yes. State the nature of the information collected and retained.

    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

                No. Go to Part 10.
                Yes. Does the debtor serve as plan administrator?


     Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

               None
                   Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
                   Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                                    moved, or                          transfer
                                                                                                                    transferred
          18.1.     BMO Bank, N.A.                          XXXX-2371                      Checking                 Closed 10/2024                         $0.00
                    PO Box 94033                                                           Savings
                    Palatine, IL 60094
                                                                                           Money Market
                                                                                           Brokerage
                                                                                           Other


    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.




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              None

          Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?
                                                                 Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


              None

          Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?


     Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

           None


     Part 12:    Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
         owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
         similarly harmful substance.

    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No.
                Yes. Provide details below.

          Case title                                             Court or agency name and              Nature of the case                          Status of case
          Case number                                            address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

                No.
                Yes. Provide details below.

          Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                                 address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

                No.
                Yes. Provide details below.

          Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                                 address

     Part 13:    Details About the Debtor's Business or Connections to Any Business

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    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

              None

       Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           Dates business existed

    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                 None

          Name and address                                                                                                                 Date of service
                                                                                                                                           From-To
          26a.1.        BPM LLP                                                                                                            09/2022 to Present
                        PO Box 8580
                        Pasadena, CA 91109

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

                 None

          Name and address                                                                                                                 Date of service
                                                                                                                                           From-To
          26b.1.        BPM LLP                                                                                                            09/2022 to Present
                        PO Box 8580
                        Pasadena, CA 91109

        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                 None

          Name and address                                                                               If any books of account and records are
                                                                                                         unavailable, explain why
          26c.1.        BPM LLP
                        PO Box 8580
                        Pasadena, CA 91109

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

                 None

          Name and address
          26d.1.        Plumas Bank
                        11641 Blocker Dr Suite 140
                        Auburn, CA 95603
          26d.2.        Umpqua Bank
                        7777 Alvarado Road, Ste 501
                        La Mesa, CA 91942

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

               No
               Yes. Give the details about the two most recent inventories.




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                 Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
                 inventory                                                                                      or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

          Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                     interest                                any
          Randy Sutton                           910 23rd St                                         CEO/Shareholder                         100%
                                                 Sacramento, CA 95816



    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


               No
               Yes. Identify below.


    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

               No
               Yes. Identify below.

                 Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                          property                                                                      providing the value
          30.1 Randy Sutton
          .    910 23rd St                                                                                          01/2024 to
                 Sacramento, CA 95816                     $150,000                                                  12/2024             Salary

                 Relationship to debtor
                 CEO


    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

               No
               Yes. Identify below.

       Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                          corporation

    32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

               No
               Yes. Identify below.

       Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                          fund




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